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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              MCALLEN DIVISION

GLORIA CASTRELLON                              §
Plaintiff,                                     §
                                               §
v.                                             §
                                               §    Civil Case No. 7:15-cv-00074
OCWEN LOAN SERVICING, LLC                      §
DEUTSCHE BANK NATIONAL                         §
TRUST AS TRUSTEE FOR                           §
SOUNDVIEW HOME LOAN TRUST                      §
MACKIE WOLF ZIENTZ & MANN P.C.                 §
Defendants                                     §


            JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE


TO THE HONORABLE UNITED STATES DISTRICT COURT:

         NOW COME Gloria Castrellon (hereinafter “Plaintiff” or “Castrellon”) and

Defendants, by and through their respective attorneys, and jointly pursuant to Federal

Rules of Civil Procedure 41 file this Stipulation of Dismissal Without Prejudice.

1.       The Court held a Status Conference on April 10, 2018 at 9:00am. The Parties

have attempted to amicably resolve the matter, and the Court set a Status Conference for

June 12, 2018 at 9:00am. The Court asked the Parties to provide notice if an extension

would be needed. The Parties requested and received a continuance to July 17, 2018 at

9:00 am.

2.       Despite good faith and diligent efforts, the Parties have been unable to come to

terms agreeable for settlement. Plaintiff does not want to proceed with her claims at this

point, but requests a dismissal without prejudice to allow her to potentially file another

case in the future regarding these claims.
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3.       Defendant is not opposed to a dismissal without prejudice.

                                         PRAYER

         WHEREFORE, the Parties request that the Court dismiss this Case Without

Prejudice, the parties each bear their own costs, and any such other relief this Court

deems just, equitable and proper.

                                              Respectfully Submitted,


                                              Guerra Days Law Group, PLLC

                                              /s/ Ricardo Guerra
                                              By: Ricardo Guerra
                                              TX Bar No. 24074331
                                              Guerra Days Law Group, PLLC
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                                              Attorney of Record for Plaintiff Gloria
                                              Castrellon



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                                              Attorney for Defendants
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                             CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was served
on the following consistent with the Federal Rules of Civil Procedure, on July 12, 2018,
to the following counsel of record:


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                                                 /s/ Ricardo Guerra
                                             Ricardo Guerra
